                                                                                               Case 3:16-cv-02120-EMC Document 331-1 Filed 06/30/22 Page 1 of 2



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                                                                                          13                              UNITED STATES DISTRICT COURT
                                                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                                          14
                                                                                                UNITED STATES OF AMERICA, EX                     Civil Action No. 3:16-cv-02120 (EMC) (SK)
                                                                                          15    REL. GWEN THROWER,

                                                                                          16                       Plaintiff,
                                                                                                                                                 [PROPOSED] ORDER GRANTING
                                                                                          17           vs.                                       DEFENDANT ACADEMY MORTGAGE
                                                                                                                                                 CORPORATION’S ADMINISTRATIVE
                                                                                          18    ACADEMY MORTGAGE                                 MOTION TO FILE UNDER SEAL
                                                                                                CORPORATION,
                                                                                          19                                                        Judge:       Hon. Edward M. Chen
                                                                                                                   Defendant.
                                                                                          20

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                                                                                          22          Upon consideration of Defendant Academy Mortgage Corporation’s (“Academy”)

                                                                                          23   Statement Concerning Relator’s Motion to Consider Whether Another Party’s Material Should be

                                                                                          24   Sealed (“Motion”), ECF 324, it is hereby ORDERED that the Motion is Granted. There is a

                                                                                          25   compelling reason that warrants the sealing of the Exhibits.

                                                                                          26          The Documents will be sealed pursuant to the following:

                                                                                          27

                                                                                          28                                                  -1-
                                                                                                                                                             Proposed Order Granting Motion to File under Seal
                                                                                                                                                                         Case No. 3:16-cv-02120 (EMC) (SK)
                                                                                               Case 3:16-cv-02120-EMC Document 331-1 Filed 06/30/22 Page 2 of 2



                                                                                           1   Document                                       Portion to Seal
                                                                                           2   Ex. A-2 communications concerning annual       Entire document
                                                                                           3   certifications to be included in Relator’s
                                                                                           4   Motion to Exclude Expert Testimony of Keith
                                                                                           5   Becker
                                                                                           6   Ex. A-3 annual certification concerning        Entire document
                                                                                           7   Relator’s Motion to Exclude Expert
                                                                                           8   Testimony of Keith Becker
                                                                                           9   Ex. A-5 internal Academy document              Entire document
                                                                                          10
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                                                                                          11   DATED: June 30, 2022                          By
                                                                                                                                             Hon. Edward M. Chen
                                                                                          12
WEINER BRODSKY KIDER PC




                                                                                                                                             UNITED STATES DISTRICT COURT JUDGE
                                                                                                                                             NORTHERN DISTRICT OF CALIFORNIA
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                                                                                                                                                     Proposed Order Granting Motion to File under Seal
                                                                                                                                                                 Case No. 3:16-cv-02120 (EMC) (SK)
